               Case 1:21-cv-02170-FYP Document 1-1 Filed 08/13/21 Page 1 of 3




                         GOVERNMENT OF THE DISTRICT OF COLUMBIA
                          Police and Firefighters’ Retirement and Relief Board

In the matter of:                                        D.C. Metropolitan Police Department
                                                         Case No. PD21-1045
ERIN SMITH
Petitioner                                               Survivor Annuitant

                          DECLARATION OF DR. JONATHAN L. ARDEN

          COMES NOW your Affiant, Jonathan L. Arden, and states upon his personal knowledge,

information and belief:

          1.       I am over the age of 18 and I am competent to testify on the matters contained

herein.

          2.       I am a licensed medical doctor and have practiced in the field of forensic pathology

for over 35 years. I am the former Chief Medical Examiner of the District of Columbia. A copy of

my CV is attached hereto.

          3.       I was retained to render an expert opinion on the manner and cause of death of

Jeffrey L. Smith.

          4.       In connection with this matter, I have reviewed the following:

    a) The Report of Investigation, and the Report of Autopsy with diagrams (signed March 18,

          2021) for Jeffrey Louis Smith, from the Virginia Office of the Chief Medical Examiner.

    b) Certificate of Analysis (i.e., Toxicology Report) for Jeffrey Smith from the Virginia

          Department of Forensic Sciences, dated 2/10 2021.

    c) Autopsy photographs.

    d) Autopsy radiograph.

    e) Certificate of Death, dated 1/19/2021.

    e) The Forensic Medical Report of Dr. Patrick J. Sheehan, dated July 12, 2021.
        Case 1:21-cv-02170-FYP Document 1-1 Filed 08/13/21 Page 2 of 3




f) The US Park Police crash report.

g) Police and Fire Clinic records for Jeffrey Smith.

h) Video of the event when Officer Smith was injured, with screen-capture images.

   5.        I hold the following opinions to a reasonable degree of medical certainty:

   a) I agree with the Medical Examiner’s opinion that the direct cause of Jeffrey Smith’s

         death was a single tight contact gunshot wound to the head that resulted in a mortal brain

         injury.

   b) I agree with Dr. Sheehan’s opinion that trauma of January 6, 2021 led to depression

         which, in turn caused Jeffrey Smith’s death. There is a direct cause and effect

         relationship between the line of duty work trauma on January 6, 2021 and Jeffrey

         Smith’s death on January 15, 2021.

   c) The social history reports from Erin Smith, together with the decedent’s friends and

         family, strongly support Dr. Sheehan’s finding that Jeffrey Smith’s suicide was

         caused by the events of January 6, 2021. The report contains detailed information as

         to the traumatic events of January 6, 2021 (as Jeffrey Smith described them to others).

         Jeffrey Smith had no prior history of depression, mental health issues or mental health

         treatment. There is no evidence of any other intervening or superseding trauma

         (between January 6, 2021 and January 15, 2021) that could have led to the suicide.

         What is particularly compelling in this case is that there was a dramatic change in

         Jeffrey Smith’s mood and behavior after the January 6, 2021 riots. In my experience

         as a forensic pathologist, it is not uncommon to see a suicide in an individual with no

         prior history of mental health issues which is brought on by an acute trigger (like a

         death, domestic issue or other physical trauma). As detailed by Dr. Sheehan, there is

                                               2
      Case 1:21-cv-02170-FYP Document 1-1 Filed 08/13/21 Page 3 of 3




        hard and reliable evidence that Jeffrey Smith changed after the physical and

        emotional trauma he experience on January 6, 2021 as he became withdrawn and

        upset. These facts, together with the timing of the suicide (nine days after the trauma)

        strongly supports causality.

     d) The video of the event demonstrates that Officer Smith was struck in the face and

        head while his face shield was up. In the Injury or Illness Report that he filed,

        Officer Smith reported pain in his “neck and face,” corroborating that he was struck

        in the face. As a direct result if being struck in the face and head, Officer Smith was

        stunned and fell. The loss of consciousness resulting from the blow indicates that he

        suffered a concussion. The symptoms that he manifested after being injured in the

        riot and leading up to his suicide, including anxiety and depression, represented post-

        concussion syndrome. Therefore, his mood changes were the direct result of the head

        trauma he suffered in the riot on January 6, 2021.

     e) The acute, precipitating event that caused the death of Officer Smith was his

        occupational exposure to the traumatic events (including sustaining a concussion

        with post-concussive syndrome) that he suffered on January 6, 2021, in connection

        with his duties as a Metropolitan Police Officer of the District of Columbia.

I DO SOLEMNLY SWEAR OR AFFIRM THAT THE FOREGOING IS TRUE THE BEST OF
MY KNOWLEDGE, INFORMATION AND BELIEF.



                            ______________________

                            JONATHAN L. ARDEN, M.D.

                            DATE: 8/13/2021


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